              Case 2:22-cv-02574-EGS Document 7 Filed 02/28/23 Page 1 of 1




                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN MOORE,                                                  :
                                                             :
                                     Petitioner,             :             CIVIL ACTION NO. 22-2574
                                                             :
         v.                                                  :
                                                             :
JAMIE SORBER, THE DISTRICT                                   :
ATTORNEY OF THE COUNTY OF                                    :
PHILADELPHIA, and THE ATTORNEY                               :
GENERAL OF THE STATE OF                                      :
PENNSYLVANIA,                                                :
                                                             :
                                     Respondents.            :

                                                       ORDER

         AND NOW, this 28th day of February, 2023, the court having entered an order which,

inter alia (1) stayed this habeas action pending the petitioner exhausting his state-court remedies

and (2) placed this matter in civil suspense, see Doc. No. 6; accordingly, it is hereby ORDERED

as follows:

         1.       The clerk of court shall REMOVE this matter from civil suspense and RETURN

it to the undersigned’s active docket; and

         2.       The clerk of court shall MARK this matter as CLOSED for statistical purposes. 1



                                                                  BY THE COURT:



                                                                  /s/ Edward G. Smith
                                                                  EDWARD G. SMITH, J.




1
 The entry of this order will not prejudice the rights of the parties in this proceeding. The court will reopen this matter
when the petitioner notifies the court that the stay may be lifted.
